254 F.2d 959
    Kenneth KINGSBURY, Appellant,v.UNITED STATES of America, Appellee.
    No. 13335.
    United States Court of Appeals Sixth Circuit.
    May 21, 1958.
    
      Appeal from the United States District Court for the Western District of Tennessee; Marion Speed Boyd, Judge.
      Graham Moore, Memphis, Tenn., on brief, for appellant.
      Edward N. Vaden, Asst. U.S. Atty., Memphis, Tenn., George Cochran Doub, Asst. Atty. Gen., Millsaps Fitzhugh, U.S. Atty., on brief, for appellee.
      Before SIMONS, Chief Judge, and MARTIN and BAZELON, Circuit Judges.
      PER CURIAM.
    
    
      1
      This appeal from a district court judgment for the defendant in an action for damages (arising out of a collision between automobiles), brought, under the Federal Tort Claims Act, 28 U.S.C. 1346(b), 2671 et seq., has been heard and duly considered on the oral arguments and briefs of contending attorneys and on the record in the case;
    
    
      2
      And it appearing that the fact findings of the district court are supported by substantial evidence and are not clearly erroneous, that the conclusions of law of the United States District Judge were correctly reached, and that the order dismissing the complaint was therefore properly entered;
    
    
      3
      The judgment of the district court is affirmed.
    
    
      4
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        1 161 F.Supp. 302.
      
    
    